Entered: July 17, 2014    Case 13-00169    Doc 93    Filed 07/17/14    Page 1 of 6
Signed: July 17, 2014

SO ORDERED




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF MARYLAND
                                            (Baltimore Division)



        In re                                                  Bankruptcy Case No.:

        Andrea M. Davis,                                       13-11853- RAG

             Debtor                                            Chapter 7



        Judy A. Robbins
        United States Trustee                                  Adversary Proceeding No:
         for Region Four

             Plaintiff                                         13-00169

        v.

        Arlita L. LeSesne
        a/k/a Arlita Albritton
        a/k/a Arlita Boston

        James J. LeSesne

        and

        Nas’cence Paralegal Service, LLC

             Defendants
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         STIPULATION AND CONSENT ORDER IMPOSING INJUNCTION

       WHEREAS, on March 21, 2013, the United States Trustee filed a Complaint

against Arlita L. LeSesne, James J. LeSesne and Nas’cence Paralegal Service, LLC

seeking, among other relief, that James J. LeSesne and Arlita L. LeSesne be prohibited

from: acting as bankruptcy petition preparers; accepting fees for acting as bankruptcy

petition preparers; and, from otherwise participating in any form or fashion in the

rendering of legal advice, consultation, consideration and/or preparation of any petition

or document which is contemplated to be filed as or in a case under Title 11 of the United

States Code;

       WHEREAS, on December 17, 2013, the United States Trustee filed a motion for

summary judgment which motion was granted at a hearing held on January 8, 2014;

       WHEREAS, a continued evidentiary hearing on the issue of Plaintiff’s request for

an injunction was held on March 10, 2014 and attended by the Defendants’ through

counsel at which hearing Plaintiff presented evidence in support of her request for an

injunction;

       WHEREAS, thereafter on March, 13, 2014 Plaintiff filed a Motion for Preliminary

Injunction which was granted by the Court by oral ruling on June 9, 2014;

       WHEREAS, Arlita L. LeSesne through her business Nas’cence Paralegal Service,

LLC and with the assistance of James J. LeSesne prepared the bankruptcy petition,

schedules, statement of financial affairs and means test form (the “Bankruptcy

Documents”) filed in the above noted case for Ms. Davis;


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       WHEREAS Ms. Davis paid $345.00 to Ms. LeSesne and/or Nas’cence Paralegal

Service, LLC for the preparation of the Bankruptcy Documents;

       WHEREAS, Ms. LeSesne signed and caused to be filed on the docket of this case

a Disclosure of Compensation of Bankruptcy Petition Preparer wherein Ms. LeSesne, as

CEO of Nas’cence Paralegal Service, LLC indicated receipt of a fee of only $175.00;

       WHEREAS, no officer, principal, responsible person, or partner of Nas’cence

Paralegal Service, LLC placed his or her social security number on and of the Bankruptcy

Documents;

       WHEREAS, Ms. LeSesne through her business Nas’cence Paralegal Service, LLC

and with the assistance of James J. LeSesne acted as a bankruptcy petition preparer and

routinely and systemically violated a number of the provisions of 11 U.S.C. § 110;

       WHEREAS, in 2013 Ms. LeSesne through her business Nas’cence Paralegal

Service, LLC and with the assistance of James J. LeSesne was a compensated bankruptcy

petition preparer in at least one hundred and twenty three bankruptcy cases filed in the

Northern District of Maryland;

       WHEREAS, in December, 2011, Ms. LeSesne agreed that she would not “draft or

prepare and/or file any motions in connection with bankruptcy cases on behalf of any

third party unless and until I become an attorney licensed to file such motions;”

       WHEREAS, despite that agreement, Ms. LeSesne and Nas’cence Paralegal

Service, LLC have continued to draft, and cause to be filed, motions in connection with

bankruptcy cases on behalf of third parties;

       WHEREAS, Ms. LeSesne and Nas’cence Paralegal Service, LLC have been

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ordered to pay penalties to the United States Trustee of $18,205.00 in bankruptcy case

number 12-00265 filed in the Middle District of Florida;

       WHEREAS, Ms. LeSesne and Nas’cence Paralegal Service, LLC have failed to

pay any penalties to the United States Trustee;

       WHEREAS Arlita L. LeSesne, James J. LeSesne, Nas’cence Paralegal Service,

LLC and the United States Trustee desire to resolve the Complaint and subsequent

litigation by the terms of this Stipulation and Consent order,

       Accordingly, it is therefore, by the United States Bankruptcy Court for the District

of Maryland, ORDERED:

       A.     Pursuant to 11 U.S.C. § 110(j)(2)(B), Arlita L. LeSesne and Nas’cence

Paralegal Service, LLC are permanently enjoined from acting in any jurisdiction of the

United States as a bankruptcy petition preparer, as defined in 11 U.S.C. §110;

       B.     For clarity sake, the Injunction imposed by this Order prohibits Arlita L.

LeSesne and Nas’cence Paralegal Service, LLC from, inter alia, engaging in any of the

following activity:

              1) Acting as a bankruptcy petition preparer as defined in 11 U.S.C. § 110;
              2) Using or directing any agent, representative, entity, corporation,
                 partnership, association or structure of any kind or any name, fictitious
                 or otherwise, to act as a bankruptcy petition preparer, as defined in 11
                 U.S.C. §110;
              3) Accepting any fees, in any jurisdiction of the United States, for acting
                 as a Bankruptcy Petition Preparer; and
              4) Assisting any person or entity in drafting or preparing any petition,
                 schedule, motion, pleading or other document to be submitted to any
                 court on a debtor’s behalf, or under a debtor’s signature. For purposes of
                 this paragraph, the term “assist” includes, in addition to any other action
                 that would constitute assistance under the ordinary usage of the term: (i)
                 the gathering of information for the purpose of drafting or preparing any

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                  petition, schedule, motion, pleading or document to be filed in any
                  court; (ii) the provision to a debtor of a completed petition, schedule,
                  motion, pleading or document for the purpose filing the petition,
                  schedule, motion, pleading or document in any court; and/or (iii) the
                  provision to any person of a form petition, schedule, motion, pleading of
                  document, obtained via the internet, form book, data bank, or other
                  similar source;
               5) Otherwise participating in any form or fashion in any jurisdiction of the
                  United States in the rendering of legal advice, consultation,
                  consideration and/or preparation of any petition or document which is
                  contemplated to be filed as or in a case under Title 11 of the United
                  States Code; and it is further

          ORDERED, that James J. LeSesne is permanently enjoined from taking any

actions to assist Arlita L. LeSesne and Nas’cence Paralegal Service, LLC in any

bankruptcy preparation services specifically including meeting with clients and potential

clients, receiving payments and delivering papers to the Bankruptcy Court; and it is

further

          ORDERED, that should Ms. LeSesne, Mr. LeSesne or Nas’cence Paralegal

Service, LLC violate the terms of the injunction entered herein, they shall jointly and

severally be sanctioned two thousand five hundred dollars ($2,500) for each violation of

the injunction created by this Order.

               The fines provided for by this paragraph:

                     i)     shall be payable to the United States Trustee;

                     ii)    shall be in addition to, and not in lieu of, any civil or criminal

sanctions or other damages for which the violator may be liable pursuant to the terms of

11 U.S.C. §110 or any other applicable law; and

                     iii)   shall not reduce any civil or criminal sanctions or other


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damages for which the violator may be liable pursuant to the terms of 11 U.S.C. §110 or

any other applicable law.



SEEN AND CONSENTED TO:                        SEEN AND CONSENTED TO:



/s/ Edward Smith, Jr.                          /s/ Katherine A. Levin
Edward Smith, Jr., Esquire                    Katherine A. Levin, 10916
2225 St. Paul Street                          Trial Attorney
Baltimore, MD 21218                           101 W. Lombard Street, Suite 2625
(410) 366-0494                                Baltimore, Maryland 21201
                                              (410) 962-4300
Attorney for Arlita L. LeSesne,
James J. LeSesne and                          Attorney for Judy A. Robbins
Nas’cence Paralegal Service, LLC              United States Trustee, Region 4




       I HEREBY CERTIFY that the terms of this copy of the consent order submitted
to the Court are identical to those set forth in the original consent order; and that
signatures represented by the /s/                on this copy reference the signatures of
consenting parties on the original consent order.

                                                  /s/ Katherine A. Levin
                                                  Katherine A. Levin



cc:    Katherine A. Levin
       Edward Smith, Jr.
       Arlita L. LeSesne
       James J. LeSesne
       Nas’cence Paralegal, LLC
       Andrea M. Davis


                                    {End of Order}


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